         Case 1:13-cr-00327-JB          Document 10      Filed 01/24/13      Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                       Plaintiff,

  vs.                                                        NO. 13-mj-150 LFG

CAREY GONZALES,

                       Defendant.


                                      FINDINGS OF FACT

        THIS MATTER came before the Court on Plaintiff, United States of America's ("United

States") "Motion for Detention Hearing and Continuance" [Doc. 6]. The Court conducted an

extensive evidentiary hearing and considered the proffers of evidence and cross-examination of

witnesses. It further took judicial notice of the Probation & Pretrial Services’ Report and heard

counsel’s arguments. For the reasons herein stated, and in accord with the Bail Reform Act, the

Court concludes that conditions can be fashioned to minimize any risk of harm or flight

                                    No Presumption of Detention.

        There are certain categories of cases that carry a presumption of detention under 18 U.S.C.

§§ 3142(e) and (f). Gonzales is not charged with producing, procuring, down-loading or distributing

child pornography. Rather, she is charged with one count of possession of child pornography, in

violation of 18 U.S.C. § 2252(a)(4)(B). Therefore, there is no rebuttable presumption of detention.

The United States, therefore, maintains the burden to prove, by clear and convincing evidence, that

Gonzales poses an unreasonable risk of flight or harm to the community.
         Case 1:13-cr-00327-JB          Document 10          Filed 01/24/13      Page 2 of 5




                                            Risk of Flight

        Gonzales is 36 years old and has a long history of residency in Albuquerque, New Mexico

since age 11. Both her nuclear and extended families live here. She has two siblings, ages 43 and

36, who reside in Albuquerque, and two children, ages 14 and 11. She has in-laws who also reside

in Albuquerque.

        Until recently, Gonzales was employed in Albuquerque and maintained employment between

2005 and 2013 with the Albuquerque Public School system. Prior to that, she was employed in

Albuquerque in various service industry positions.

        The Court’s Probation & Pretrial Services Office confirmed her residency, family ties and

employment history. There is no evidence that Gonzales possesses a passport or that she has

traveled outside the United States, or could travel outside the United States if she was so inclined.

There is no evidence, either directly or indirectly, to support any inference that Gonzales would be

likely to flee, as all of her connections, contacts and family are centered in this judicial district.

                                            Risk of Harm

        Gonzales is not charged with the more serious offense of producing, procuring, down-

loading or distributing child pornography, as is her husband. Indeed, the undisputed evidence is that

both Gonzales and her husband stated it was her husband who downloaded the pornographic videos.

Gonzales is charged with possessing and viewing the videos with her husband.

        There are no allegations that Gonzales has, at any time, engaged in inappropriate sexual

contact with minors. During the execution of a search warrant at her residence, Gonzales was

cooperative and voluntarily agreed to be interviewed before and after the search warrant and before

and after her arrest. While in police custody, she agreed to a polygraph examination to determine

if she has, at any time, engaged in inappropriate sexual touching or contact with minor children, or

                                                   2
         Case 1:13-cr-00327-JB         Document 10       Filed 01/24/13      Page 3 of 5




if any minor child, including family members, engaged in inappropriate sexual contact with her.

The results of the polygraph examination were conclusive and demonstrated that at no time has

Gonzales engaged in such conduct.

       Probation & Pretrial Services conducted a criminal record check through National Crime

Information Center, which included both state and local records. There is no prior criminal history

involving Gonzales, and no evidence whatsoever to support a finding of dangerousness.

       The charges against Gonzales significantly differ as to those against her husband, who is

charged with a more serious offense for which there is a presumption of detention under 18 U.S.C.

§ 3142. Moreover, in her husband’s case, there is an allegation that twenty years prior, he sexually

molested a minor child. Gonzales’ husband sought release, but the Court denied release and ordered

him detained, finding that he had not overcome the presumption of dangerousness. There are no

similar allegations or accusations against Gonzales.

       The United States argues that Gonzales is dangerous because she made inculpatory

statements concerning smoking marijuana, and that, because she viewed child pornography, she

poses a danger to every child. Neither argument is convincing. The use of personal possession

amounts of marijuana, while illegal, does not pose an unreasonable risk of harm to others.

Moreover, it is a matter that can be addressed by terms and conditions, including prohibition on use

of controlled substances and random drug tests. So, too, possession of child pornography is a

serious federal violation, but there is an absence of any evidence demonstrating that Gonzales has

personally harmed any child.

                       Probation & Pretrial Services Recommendation

       The Court’s Probation & Pretrial Services Office, after a thorough evaluation and study, and

consideration of Gonzales’ history, residency, family ties, employment, financial resources, health

                                                 3
          Case 1:13-cr-00327-JB         Document 10        Filed 01/24/13      Page 4 of 5




and lack of criminal record, concludes that conditions are available that may be fashioned to

adequately manage any risk of non-appearance or danger to the community. Probation & Pretrial

Services recommended release of Gonzales on her own recognizance subject to the following

conditions:

        A. That Gonzales report regularly to Probation & Pretrial Services as directed;

        B. that she be prohibited from possessing a firearm, destructive device or dangerous

weapon;

        C. that she refrain from any use or possession of any narcotic drug or controlled substance

unless prescribed by a licensed practitioner;

        D. that Gonzales’ travel be restricted to Bernalillo County unless extra-territorial travel is

authorized;

        E. that she not have any unsupervised contact with minor children under 17 years of age;

        F. that she is prohibited from possessing a cellular phone or electronic device with Internet

capabilities;

        G. that Gonzales be prohibited from having any contact with any witness in the case;

        H. that she participate in active GPS/home detention monitoring as directed by Probation

& Pretrial Services; and,

        I. that she is permitted to have supervised contact with her children as approved by

Probation & Pretrial Services.

        Consistency should be a hallmark of court decisions. Indeed, it is for that reason that the

Federal Sentencing Guidelines were adopted in 1984. While those Guidelines are no longer

mandatory, but advisory, the intent of the Guidelines was to ensure that defendants are treated

equally when they engage in certain prohibited conduct.

                                                  4
         Case 1:13-cr-00327-JB         Document 10         Filed 01/24/13      Page 5 of 5




       To ensure consistency in its release/detention decisions, the Court reviewed prior release/

detention rulings on similar charges and finds that in cases where the rebuttable presumption is not

applicable, release decisions under various terms and conditions are generally granted. So, too, here,

the Court determines that conditions exist which will reasonably protect the community and ensure

that Gonzales will be available for further proceedings before the Court.

                                            Conclusion

       The Court concludes that the United States failed to demonstrate that Gonzales is an

unreasonable risk of flight or harm, and determines that the terms and conditions proposed by

Probation & Pretrial Services are sufficient, under the Bail Reform Act, to minimize any risk of non-

appearance or harm.

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                                                      Lorenzo F. Garcia
                                                      United States Magistrate Judge




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